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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                         CENTRAL DIVISION at LEXINGTON

                                          )
                                          )           MDL No. 1877
                                          )
IN RE CLASSICSTAR MARE LEASE              )           Master File:
LITIGATION                                ) Civil Action No. 5:07-cv-353-JMH
                                          )
                                          )
                                          )

                         MEMORANDUM OPINION AND ORDER

                                   *** *** ***

        This matter is before the Court on a Motion for a Protective

Order       filed   by   GeoStar   Corporation     (hereinafter,    “GeoStar”)

[Lexington Civil Action No. 07-353-JMH, Record No. 642], requesting

relief from the Court’s November 14, 2008, Order [see, e.g.,

Lexington Civil Action No. 07-353-JMH, Record No. 628] requiring

GeoStar to produce requested financial data in its native format.1

Plaintiffs      West     Hills   Farms,    LLC,   Arbor   Farms,   LLC,   Nelson

Breeders, LLC, MacDonald Stables, LLC, and Jaswinder and Monica

Grover (hereinafter, “West Hills Plaintiffs”) have responded,

stating their objections to the motion [Lexington Civil Action No.

07-353-JMH, Record No. 671; No. 06–243-JMH, Record No. 281].

Plaintiffs J&L Canterbury Farms, LLC, and Leo and Jean Hertzog,


        1
      GeoStar’s Motion is also docketed at Lexington Civil Action
Nos. 06-243-JMH [Record No. 276]; 07-347-JMH [Record No. 95]; 07-
348-JMH [Record No. 127]; 07-349-JMH [Record No. 113]; 07-351-JMH
[Record No. 46]; 07-352-JMH [Record No. 57]; 07-419-JMH [Record No.
90]; 08-17-JMH [Record No. 25]; 08-53-JMH [Record No. 115]; 08-74-
JMH [Record No. 18]; 08-79-JMH [Record No. 13]; 08-104-JMH [Record
No. 19]; 08-109-JMH [Record No. 91]; 08-321-JMH [Record No. 39];
08-418 [Record No. 12].
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have joined in that response, stating their objections to GeoStar’s

motion [Lexington Civil Action No. 07-353-JMH, Record No. 682; No.

07-349-JMH, Record No. 115]. Finally, GeoStar has filed a Reply in

Further Support of its Motion for Protective Order [Lexington Civil

Action No. 07-353-JMH, Record No. 686; No. 06–243-JMH, Record No.

283;    No. 07-349-JMH, Record No. 117].            For the reasons which

follow, GeoStar’s Motion shall be denied.

       During   the   spring    of   2007,   the   West   Hills    Plaintiffs

propounded a series of document requests to GeoStar.              Request No.

9 sought GeoStar’s “financial statements, whether accountant or

internally prepared, all other financial information, all general

ledgers, all accounting journal entries (such as cash receipts,

cash disbursements, etc.) and the source documents evidencing those

entries pertaining to the financial condition of GeoStar from 2001

to the present.”        With regard to the format of the requested

production, the West Hills Plaintiffs requested the production of

responsive documents “as they are kept in the usual course of

business or [as] organized and labeled to correspond with the

paragraphs and subparagraphs set forth below.”

       GeoStar responded, objecting to the requests, as follows:

            GeoStar objects to Plaintiffs’ proposed form
            for    producing    electronically     stored
            information.    GeoStar further objects to
            Plaintiffs’   definition   and   instructions
            related to “computer file” as set forth in
            Definitions and Instructions paragraph 13(f).
            GeoStar further objects on the grounds that
            requests for “computer files,” as defined in

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            paragraph 13(f), are unduly burdensome and
            cost prohibitive.       GeoStar specifically
            objects to this definition as exceeding the
            scope of Federal Rule of Civil Procedure 34.
            GeoStar supports the proposal of Defendant
            David Plummer that the parties agree on an
            appropriate protocol for the production of
            responsive electronically stored information
            pursuant to Federal Rule of Civil Procedure
            34, as amended and now in effect.


      Ultimately, this Court entered Orders requiring an extensive

production of financial information from GeoStar and its many

subsidiaries.     [See, e.g., Lexington Civil Action No. 07-243-JMH,

Record Nos. 494 and 504.]          The Orders did not specify the format

for electronic production of these documents.              On September 11,

2008, GeoStar produced 273,000 pages of these records to all

parties in the MDL.      The documents were initially produced in .pdf

and Excel format.       GeoStar then converted the documents to .tif

documents with .dii load files and OCR so that the documents could

be readily loaded into the parties’ Summation or Concordance (both

litigation document management software) databases for ease of

searching.2      GeoStar    then    produced   the   documents    with   these


      2
        Geostar states that this is the same format in which all
prior productions had been made. In fact, the Court understands
that Geostar had advised all other counsel shortly after
consolidation of these matters into the present litigation that it
would produce documents in .tif format with load files for either
Concordance or Summation discovery management databases, as
preferred by the parties.
     “[.tif] is a static image format similar to a PDF that creates
a mirror image of the electronic document.” Aguilar v. Immigration
and Customs Enforcement Div. of U.S. Dept. of Homeland Sec., 2008
WL 5062700, *2 (S.D.N.Y. 2008). “Native format is the ‘default

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modifications.

      On October 2, 2008, the West Hills Plaintiffs sought a

telephonic conference with the undersigned which resulted in an

order to produce the documents in their native format.                     The

undersigned also directed, however, that West Hills should depose

a GeoStar representative to determine the impact that production of

that information in native format would have upon the operations of

GeoStar, inviting GeoStar to file a Motion for a Protective Order

if necessary following the gathering of that information.

      On October 17, 2008, GeoStar’s Chief Financial Officer, Fred

Lambert, appeared and discussed the impact that a native format

production would have on GeoStar. He identified three reasons that

the production of the financial information would be extremely

difficult and burdensome on GeoStar:           (1)   GeoStar would have to

redact all financial information pertaining to Gastar Exploration,

Inc.,   pursuant    to   a   confidentiality     agreement    between    those

companies; (2)      GeoStar would have to redact information outside

the requested time period; and (3)           GeoStar would have to review



format of a file,’ access to which is ‘typically provided through
the software program on which it was created.’” Id. at *2, n. 4.
“OCR” stands for “optical character recognition.”        Merriam-
W e b s t e r ’ s       O n - L i n e      D i c t i o n a r y ,
http://www.merriam-webster.com/dictionary/OCR    (last    visited
February 2, 2009). As the Court understands OCR, it is a process
whereby one creates an electronic translation of static images,
described above as .pdf and .tif files, into text that may be
searched or, in some instances, edited using a computer and
appropriate software.

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older data and repair any corrupted data.

        Fed. R. Civ. P. 34 provides that, if the requesting party

fails to specify a format, “a         party must produce it in a form or

forms in which it is ordinarily maintained or in a reasonably

usable form or forms.”        Fed. R. Civ. P. 34(b)(2)(E)(ii).           Under

Fed. R. Civ. P. 34(b)(2)(E)(iii), “a party need not produce the

same electronically stored information in more than one form.”

        The 2006 Advisory Committee Notes to Rule 34 provide the

following guidance:

             The rule does not require a party to produce
             electronically stored information in the form
             in which it is ordinarily maintained, as long
             as it is produced in a reasonably usable form
             . . . If the responding party ordinarily
             maintains the information it is producing in a
             way that makes it searchable by electronic
             means, the information should not be produced
             in a form that removes or significantly
             degrades this feature.

        Further, the Manual for Complex Litigation, § 11.446, provides

that:

             Against the backdrop of heightened demands for
             usability and searchability of the electronic
             discovery produced in a multi-district case,
             is the need for the parties to confer on the
             format of the production, keeping in mind that
             the responding party is best situated to
             evaluate the procedures, and the need to
             produce the information in a reasonably usable
             form to enable the receiving party to access,
             search, and display the information.

In re Seroquel Prod. Liability Litig., 244 F.R.D. 650, 655 (M.D.

Fla. 2007) (citing Manual for Complex Litigation, § 11.446 (4th


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ed.)).

      GeoStar takes the position that GeoStar’s original production,

thus, met and satisfied the requirements of Fed. R. Civ. P.

34(b)(2)(E).          See     Autotech       Tech.     Ltd.   Partnership    v.

Automtaiondirect.com, Inc., 248 F.R.D. 556, 559-60 (N.D. Ill. 2008)

(where a party does not specify a format in which the documents are

to be produced, production of documents in .pdf and .tif format

“complied with the ordinary meaning of Rule 34”).              GeoStar argues

that it had the option to produce the documents in their native

format or in an alternative format that was “reasonably usable” and

that did not “significantly degrade” the searchability function of

the documents.     See United States v. O’Keefe, 537 F.Supp.2d 14, 23

(D.D.C. 2008) (“production of the electronically stored information

in PDF or TIFF format would suffice, unless defendants can show

that those formats are not ‘reasonably usable’ and that the native

format, with the accompanying metadata, meet the criteria of

‘reasonably usable’ whereas the PDF or TIFF formats do not”).

      Plaintiffs do not directly address the issue of whether the

data, as already produced is “reasonably usable,” arguing instead

that the production of data in its native format would save them

“hundreds of hours.”         The West Hills Plaintiffs argue that “[i]n

cases where the financial data is voluminous, [the] reporting

feature is essential to the discovering party’s ability to sort

through the data.”          [Response at 5.]         In other words, the West


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Hills Plaintiffs are not arguing that the data produced is not

usable, only that it could be so much more useable in its native

format.

      The West Hills Plaintiffs have cited as an example a 509 page

.tif image produced by GeoStar for one month, December 2002, of

general ledger financial information for a GeoStar subsidiary out

of which GeoStar marketed its oil and gas working interests to

ClassicStar participants.         The report contains 18,000 rows and

thirteen columns of data, and there are some ninety separate

monthly    general    ledgers    in   this    format   for    the   referenced

subsidiary alone.        In other words, these materials contain an

extraordinary amount of data. Plaintiffs explain that, in order to

trace the $140 million of ClassicStar funds that it alleges were

distributed through GeoStar to the ultimate recipients, they will

be forced “to manually sort through tens of millions of rows of

densely formatted financial data.” [Id.] By contrast, if the data

is produced in native format, the method in which it is maintained

in the ordinary course of GeoStar’s business, “Plaintiffs could

query various search reports and extract the desired information in

a fraction of the time.” [Id.]

      The question before the Court, then, is whether GeoStar’s

original production was “reasonably usable” under Fed. R. Civ. P.

34(b)(2)(E).     If the production made was “reasonably usable” and

the   non-native     format     did   not    “significantly    degrade”    the


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searchability of the documents, Geostar argues that it should not

be required to make a second production and that the burden is on

the West Hills Plaintiffs to provide proof that the production does

not meet these requirements.          See, e.g., Perfect Barrier LLC v.

Woodsmart Solution, Inc., No. 3:07-cv-103-JVB, 2008 WL 2230192, *3

(N.D. Ind. May 27, 2008).

      To answer this question, the Court must consider whether by

producing the financial data which resides in the OGSYS, Creative

Solutions, and Checkbook Solutions accounting software solutions

without its embedded metadata, GeoStar has run afoul of its

obligations under Fed. R. Civ. P. 34. The Court concludes that, in

light of the Court’s prior Orders and the phrasing of the specific

requests for this data, that GeoStar has not necessarily erred by

producing the documents in .pdf and .tif formats.            Indeed, GeoStar

apparently produced the documents in a format which was most likely

to be usable – to some extent – by any of the parties to this

lawsuit, none of whom had the necessary software for the native

format data at the time of the production.             In other words, the

West Hills Plaintiffs have received, to the best of the Court’s

knowledge, the production that their Request sought.

      Nonetheless, the Court is very concerned by a July 25, 2008,

exchange between counsel for the West Hills Plaintiffs and counsel

for GeoStar Corporation, which reads as follows:

            This letter responds to your prior letter and
            emails regarding documents produced by GeoStar

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             Corporation.   You asked that we produce the
             financial and accounting records in their
             native format.     I do not know, however,
             whether you have the software to be used in
             connection with that information.      GeoStar
             runs two software packages for its financial
             records: (1) Creative Solutions; and (2) Oil
             & Gas Information Systems.         It is my
             understanding that the later program may cost
             in excess of $15,000.      Although we could
             provide you with the data housed in these
             programs, it would be useless without the
             software in which to import that data.      We
             will provide you with the financial records in
             a format that will allow you to upload them
             into your Summation or Concordance database,
             and we can provide you with the data in its
             native format if you choose to buy the
             software.

      Whatever the wording of the Request and Geostar’s obligations

under the relevant Rules of Civil Procedure, it is quite clear that

GeoStar agreed to produce the material in its native format to the

West Hills Plaintiffs and that GeoStar understood that the West

Hills     Plaintiffs   considered    the   data   “degraded”     without   the

metadata intact. Indeed, the West Hills Plaintiffs have apparently

concluded that it is worth the cost of obtaining the specific

software necessary to read the native format data so that they

might use its embedded metadata to better understand the data and

the information that it represents.3


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          Embedded metadata consists of:

             . . . text, numbers, content, data, or other
             information that is directly or indirectly
             inputted into a [n]ative [f]ile by a user and
             which is not typically visible to the user
             viewing the output display” of the native

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       Having considered the facts and arguments presented and the

 relevant law, the Court shall order GeoStar to produce the data in

 its   native   format    –   effectively   holding    the   parties    to   the

 agreement that they reached between themselves during the summer of

 2008 – notwithstanding the fact that the West Hills Plaintiffs’

 request may not have effectively addressed this issue on its own.

       Further, there will be no need for GeoStar to redact the

 financial information pertaining to Gastar Exploration, Inc.,

 notwithstanding      a   confidentiality       agreement     between    those

 companies, because GeoStar has been ordered on this and several

 prior occasions to produce that data.         Indeed, as far as the Court

 can tell, this data should have already been produced in some

 format.

       As for GeoStar’s concerns about its ability to retrieve

 certain older data and repairing any corrupted data, the Court

 notes that GeoStar was apparently able to retrieve that data for


             file. Examples include spreadsheet formulas,
             hidden columns, externally or internally
             linked   files    (such    as    sound   files),
             hyperlinks,   references    and    fields,   and
             database information. This type of metadata
             is   often   crucial    to    understanding   an
             electronic    document.    For     instance,   a
             complicated spreadsheet may be difficult to
             comprehend without the ability to view the
             formulas underlying the output in each cell.

 Aguilar v. Immigration and Customs Enforcement Div. of U.S. Dept.
 of Homeland Sec., 2008 WL 5062700, *4 (S.D.N.Y. 2008) (internal
 citations omitted).


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 its initial .pdf or .tif production.           In other words, the Court

 finds this objection to be incredible. Should there be any problem

 retrieving the data or should any corrupt data be found, the

 parties and the Court will cross that bridge when they get to it.

        Finally, as GeoStar has already produced the data once and as

 the original document request did not specify a native format

 production, it is only fair to shift the reasonable cost of copying

 and delivering this second production to the West Hills Plaintiffs.

       Accordingly, IT IS ORDERED

       (1)   that the Motion for a Protective Order filed by GeoStar

 Corporation (hereinafter, “GeoStar”) [Lexington Civil Action No.

 07-353-JMH, Record No. 642; 06-243-JMH [Record No. 276]; 07-347-JMH

 [Record No. 95]; 07-348-JMH [Record No. 127]; 07-349-JMH [Record

 No. 113]; 07-351-JMH [Record No. 46]; 07-352-JMH [Record No. 57];

 07-419-JMH [Record No. 90]; 08-17-JMH [Record No. 25]; 08-53-JMH

 [Record No. 115]; 08-74-JMH [Record No. 18]; 08-79-JMH [Record No.

 13]; 08-104-JMH [Record No. 19]; 08-109-JMH [Record No. 91]; 08-

 321-JMH [Record No. 39]; 08-418 [Record No. 12]] shall be, and the

 same hereby is, DENIED;

       (2)   that the West Hills Plaintiffs shall bear the reasonable

 cost to GeoStar of copying and delivering the data to counsel for

 the West Hills Plaintiffs if they advise GeoStar that they wish to

 proceed as set forth below;

       (3)   that on or before February 12, 2009, GeoStar Corporation


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 shall provide the West Hills Plaintiffs with a good-faith estimate

 of the reasonable cost of copying and delivering the data to

 counsel for the West Hills Plaintiffs;

       (4)   that on or before February 17, 2009, the West Hills

 Plaintiffs shall notify counsel for GeoStar whether it wishes for

 GeoStar to proceed to produce the data in its native format based

 on that cost estimate;

       (5)   that GeoStar shall, except as ordered below, PRODUCE the

 requested financial data in its native format to West Hills Farms

 on or before March 4, 2009; and

       (6)    that GeoStar shall be relieved of its obligation to

 timely produce this data in its native format to the West Hills

 Plaintiffs only if the West Hills Plaintiffs advise GeoStar that

 they do not wish to proceed with the production as set forth above.

       This the 2nd day of February, 2009.




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